Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 1 of 39 PageID 35176


                IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

SOARING WIND ENERGY, LLC,                 §
TANG ENERGY GROUP, LTD.,                  §
THE NOLAN GROUP, INC., MARY               §
YOUNG (INDIVIDUALLY AND AS                §
INDEPENDENT EXECUTRIX OF THE              §
ESTATE OF KEITH P. YOUNG),                §
MITCHELL W. CARTER, and                   §
JAN FAMILY INTERESTS, LTD.,               §
                                          §
             Movants,                     §
                                          §
v.                                        §        Civil Action No. 3:15-CV-4033-K
                                          §
CATIC USA, INC. (a.k.a. AVIC              §
INTERNATIONAL USA, INC.),                 §
                                          §
             Respondent.                  §

             ORDER CONFIRMING ARBITRATION AWARD

      Before the Court are: (1) Movants Soaring Wind Energy, LLC, Tang Energy

Group, Ltd., The Nolan Group, Inc., Keith P. Young, Mitchell W. Carter, and Jan

Family Interests Ltd.’s Motion to Confirm Arbitration Award Against Respondent

AVIC International USA, Inc. and Motion to Confirm Arbitration Award Against All

Other Respondents (Doc. No. 1); and (2) Respondent AVIC International USA,

Inc.’s Motion to Vacate Arbitration Award (Doc. No. 157). The Court has carefully

reviewed the motions, responses, replies, the extensive record, the applicable law, and




ORDER – PAGE 1
 Case 3:15-cv-04033-K Document 363 Filed 08/09/18       Page 2 of 39 PageID 35177


the arbitration award.   The Court finds no grounds upon which it must vacate,

modify, or correct the arbitration award as to Respondent AVIC USA, Inc. (“AVIC

USA”). See 9 U.S.C. § 9-11. The Court must confirm the arbitration award against

AVIC USA because the arbitrators’ ruling as to the liability of AVIC USA “‘draws its

essence’” from the Soaring Wind Energy Agreement.          Accordingly, the Court

GRANTS Movants’ Motion to Confirm Arbitration Award Against Respondent

AVIC International USA, Inc. and DENIES Respondent AVIC USA’s motion to

vacate the arbitration award.

I.    Factual and Procedural Background

      In 2008, Soaring Wind Energy, LLC (“SWE”) was created with a Limited

Liability Company Agreement (“the Agreement” or “the SWE Agreement”).           The

members of SWE are Respondent AVIC USA, non-party Paul E. Thompson

(“Thompson”), and Movants Tang Energy Group, LLC (“TEG”), Keith P. Young,

Mitchell W. Carter, Jan Family Interests, Ltd., and The Nolan Group, Inc.

(collectively “Movants”). AVIC USA held a 50% membership in SWE, while the five

Movants held the other 50% membership in varying percentages. The Agreement

defined the purpose and nature of SWE’s business:

             The purpose and nature of the business to be conducted by
          the Company shall be to provide worldwide marketing of wind
          energy equipment, services and materials related to wind energy
          including, but not limited to, marketing wind turbine generator




ORDER – PAGE 2
Case 3:15-cv-04033-K Document 363 Filed 08/09/18           Page 3 of 39 PageID 35178


          blades and wind turbine generators and developing wind farms
          (the “Business”), and to engage in any other business or activity
          that now or hereafter may be necessary, incidental, proper,
          advisable or convenient to accomplish the foregoing purposes
          (including the borrowing of money and the investment of funds)
          and that is not forbidden by the law of the jurisdiction in which
          the Company engages in that business.

      The Agreement also contains a Dispute Resolution section (“Arbitration

Provision”) requiring disputes to be resolved in binding arbitration. The Arbitration

Provision of the Agreement provides for the following process:

             (a) The Disputing Member desiring to initiate arbitration in
          connection with any Dispute shall notify the other Disputing
          Members in writing, which notice shall provide the name of the
          Arbitrator appointed by the Disputing Member, demand
          arbitration and include a statement of the matter in controversy.
             (b) Within 15 days after receipt of such demand, each other
          Disputing Member receiving notice of the Dispute shall name an
          Arbitrator. . . . The Arbitrators so selected shall within 15 days
          after their designation select an additional Arbitrator. . . . In the
          event that there are more than two Disputing Members to the
          Dispute, then unless otherwise agreed by the Disputing
          Members, the Arbitrators selected by the Disputing Members
          shall cause the appointment of either one or two Arbitrators as
          necessary to constitute an odd number of total Arbitrators
          hearing the Dispute.

It defines “Disputing Member” as “each Member that is a party to such Dispute.”

“Member” is defined as “either a Class A Member or a Class B Member, or any

Person hereafter admitted to the Company as a member as provided in this




ORDER – PAGE 3
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 4 of 39 PageID 35179


Agreement, but such term does not include any Person who has ceased to be a

member in the Company.”

       In June 2014, TEG filed a Demand for Arbitration, joined by the other

Movants, asserting a claim for breach of Agreement against the Respondents—

Signatories AVIC USA and Thompson as well as the Non-Signatory Respondents

Aviation Industry Corporation of China, China Aviation Industry General Aircraft

Co., Ltd., AVIC International Holding Corp., AVIC International Renewable Energy

Corp., and CATIC TED, Ltd. (collectively “Non-Signatories”). The Non-Signatories

are foreign companies. After the arbitration demand was made, each SWE member

selected an arbitrator for a total of seven (7) arbitrators being selected—one each by

AVIC USA and Thompson, as well as one by each of the five Movants. Following the

process set out in the Arbitration Provision, those seven arbitrators then selected two

additional arbitrators, resulting in a nine-member arbitration panel (“the Panel”) in

the proceeding.   The Panel later permitted SWE to intervene as a party to the

Arbitration.   The Non-Signatory Respondents objected to any attempt to subject

them to arbitration, and provided notice that they would not participate in the

arbitration.

       On August 5, 2014, after the Panel had been composed but before an

arbitration award had issued, AVIC USA filed a complaint for declaratory judgment,




ORDER – PAGE 4
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 5 of 39 PageID 35180


seeking the Court’s intervention related to the composition of the Panel and also a

stay of the arbitration proceedings. AVIC Int’l USA, Inc. v. Tang Energy Grp., Ltd.,

Civil Action No. 14-CV-2815-K (“AVIC USA I case”) (Doc. No. 1).            The Court

granted Defendant TEG’s motion to dismiss, finding the Court had no jurisdiction to

address AVIC USA’s claims or grant the relief requested. AVIC Int’l USA, Inc. v. Tang

Energy Grp., Ltd., Civil Action No. 14-CV-2815-K, 2015 WL 477316, at 4-5 (N.D.

Tex. Feb. 5, 2015). The Fifth Circuit affirmed this Court’s ruling. AVIC Int’l USA,

Inc. v. Tang Energy Grp., Ltd., 614 F. App’x 218, 219 (5th Cir. 2015) (“AVIC USA I

appeal”).

      On September 12, 2014, again before an arbitration award had issued,

Ascendant Renewable Energy Corporation (“Ascendant”), a named Respondent in

the arbitration but a non-signatory to the SWE Agreement, filed a complaint for

declaratory judgment. Ascendant Renewable Energy Corp. v. Tang Energy Grp., Ltd., Civil

Action No. 14-CV-3314-K (“Ascendant case”) (Doc. No. 1). Ascendant sought a stay

of the arbitration and a declaration from the Court regarding its party status to the

arbitration, including whether the Panel or a court must determine if Ascendant was a

proper party to the arbitration as a non-signatory to the SWE Agreement which

contained the arbitration provision. Id. (Doc. No. 1). On August 4, 2015, the Court

granted Ascendant’s motion for summary judgment, declaring:




ORDER – PAGE 5
Case 3:15-cv-04033-K Document 363 Filed 08/09/18          Page 6 of 39 PageID 35181


             (1) whether Ascendant, a non-signatory to the Agreement,
          can be subject to arbitration based on the arbitration clause of
          the Agreement is for a court, not the arbitration panel, to decide
          because Ascendant disputes the very existence of an agreement
          between these parties; and (2) because the existence of any
          agreement between these parties is in dispute, any
          determination by the arbitration panel as to the jurisdiction over
          Ascendant is not controlling on a court.

Ascendant Renewable Energy Corp. v. Tang Energy Grp., Ltd., Civil Action No. 14-CV-

3314-K, 2015 WL 4713240, at * 3 (N.D. Tex. Aug. 4, 2015). The Court denied as

moot the requested stay. No appeal was taken in that matter.

      The arbitration hearing occurred August 10-14, 2015.         On December 21,

2015, the Panel issued their Final Award. The panel concluded, in relevant part,

that: (1) the SWE members vested the Panel with authority to determine their own

jurisdiction, including arbitrability of any claim or defense, such as any dispute

related to the interpretation or construction of any provision in the Agreement;

(2) AVIC USA’s “Affiliates”, as defined in the Agreement, engaged in the “Business”

of SWE in violation of the Agreement’s covenant not to compete; (3) AVIC USA as a

Signatory was liable for its Affiliates’ breach of the Agreement; (4) the Movants were

entitled to damages for lost profits relating to the breach and AVIC USA should be

divested of its membership interest in SWE; (5) SWE properly intervened to assert

its own claims for damages; (6) SWE was entitled to $62.9 million in damages and

TEG was entitled to arbitration fees, attorneys’ fees, and expenses (up through a final




ORDER – PAGE 6
 Case 3:15-cv-04033-K Document 363 Filed 08/09/18          Page 7 of 39 PageID 35182


appeal to the United States Supreme Court) allocated against all Respondents except

Thompson; and (7) the Movants were the “prevailing Members” as defined in the

Agreement.

      Before the Court now are the Movant’s motion to confirm the arbitration

award and the AVIC USA’s motion to vacate the arbitration award.

II.   Applicable Law

      There is a strong federal policy favoring arbitration, as reflected in the Federal

Arbitration Act (“FAA”). See Hall St. Assocs., L.L.C. v. Mattel, Inc., 552 U.S. 576, 586-

590 (2008). “Judicial review of an arbitration award is extraordinarily narrow and

[the courts] should defer to the arbitrator’s decision when possible.”        Antwine v.

Prudential Bache Sec., Inc., 899 F.2d 410, 413 (5th Cir. 1990); see Rain CII Carbon,

LLC v. ConocoPhillips Co., 674 F.3d 469, 471-72 (5th Cir. 2012); Brabham v. A.G.

Edwards & Sons Inc., 376 F.3d 377, 385 (5th Cir. 2004)(“Our established rules of

deference foreclose all but the most limited review.”). The FAA permits a district

court to vacate an arbitration award in these very limited circumstances:

             (1) where the award was procured by corruption, fraud, or
          undue means;

             (2) where there was evident partiality or corruption in the
          arbitrators, or either of them;

              (3) where the arbitrators were guilty of misconduct in
          refusing to postpone the hearing, upon sufficient cause shown,




ORDER – PAGE 7
Case 3:15-cv-04033-K Document 363 Filed 08/09/18            Page 8 of 39 PageID 35183


           or in refusing to hear evidence pertinent and material to the
           controversy; or any other misbehavior by which the rights of any
           party have been prejudiced; or

              (4) where the arbitrators exceeded their powers, or so
           imperfectly executed them that a mutual, final, and definite
           award upon the subject matter submitted was not made.


9 U.S.C. § 10(a). These are the exclusive grounds on which a court may vacate an

arbitration award under the FAA. Hall St. Assocs., 552 U.S. at 586-590 (holding “§§

10 and 11 provide exclusive regimes for the review provided by the [FAA]”); see

Citigroup Glob. Mkts., Inc. v. Bacon, 562 F.3d 349, 355 (5th Cir. 2009). An arbitration

award may not be vacated for “mere mistake of fact or law.” Rain CII Carbon, 674

F.3d at 472 (internal quotation marks omitted).

      The party seeking vacatur of an arbitration award bears the burden of proof,

and the reviewing court must decide any uncertainties or doubts in favor of

sustaining the award. Brabham, 376 F.3d at 385. In reviewing an arbitration award,

the court applies the “essence” test. See Timegate Studios, Inc. v. Southpeak Interactive,

L.L.C., 713 F.3d 797, 802 (5th Cir. 2013); Executone Info. Sys., Inc. v. Davis, 26 F.3d

1314, 1320 (5th Cir. 1994). The court must confirm an arbitration award “as long

as the arbitrator’s decision ‘draws its essence’ from the contract,” in other words “the

arbitrator’s decision is rationally inferable from the letter or purpose of the

underlying agreement.” Timegate Studios, 713 F.3d at 802 (quoting Executone, 26 F.3d




ORDER – PAGE 8
Case 3:15-cv-04033-K Document 363 Filed 08/09/18           Page 9 of 39 PageID 35184


at 1320). “[T]he question is whether the arbitrator’s award was so unfounded in

reason and fact, so unconnected with the wording and purpose of the . . . agreement

as to manifest an infidelity to the obligation of an arbitrator.” Executone, 26 F.3d at

1325 (internal quotations omitted).      It is irrelevant whether the reviewing court

disagrees with the arbitrator’s interpretation of the contract. Timegate Studios, 713

F.3d at 802. The reviewing court considers only the arbitrators’ resulting decision

and “does not review the language used by, or the reasoning of, the arbitrators in

determining whether their award draws its essence from the contract.” Executone, 26

F.3d at 1325 (internal quotations omitted). “Because the parties have contracted to

have disputes settled by an arbitrator chosen by them rather than by a judge, it is the

arbitrator’s view of the facts and of the meaning of the contract that they have agreed

to accept.   Courts thus do not sit to hear claims of factual or legal error by an

arbitrator as an appellate court does in reviewing decisions of lower courts.” United

Paperworkers Int’l Union v. Misco, Inc., 484 U.S. 29, 37-38 (1987).

      The arbitrators’ powers and authority are “‘dependent on the provisions under

which the arbitrators were appointed.’” Brook v. Peak Int’l, Ltd., 294 F.3d 668, 672

(5th Cir. 2002)(quoting Szuts v. Dean Witter Reynolds, Inc., 931 F.2d 830, 831 (11th

Cir. 1991)). “Whether an arbitrator has exceeded his powers is tied closely to the

applicable standard of review”—that being whether the arbitrator’s decision “draws




ORDER – PAGE 9
Case 3:15-cv-04033-K Document 363 Filed 08/09/18        Page 10 of 39 PageID 35185


its essence” from the underlying contract. Timegate Studios, 713 F.3d at 802. The

court looks to “whether the arbitrator’s award ‘was so unfounded in reason and fact,

so unconnected with the wording and purpose of the [contract] as to “manifest an

infidelity to the obligation of an arbitrator.”’”   Id. (quoting Brotherhood of R.R.

Trainmen v. Cent. of Ga. Ry. Co., 415 F.2d 403, 412 (5th Cir. 1969)). “‘[A]s long as

[an honest] arbitrator is even arguably construing or applying the contract and acting

within the scope of his authority,’ the fact that ‘a court is convinced he committed

serious error does not suffice to overturn his decision.’” E. Associated Coal Corp. v.

United Mine Workers of Am., 531 U.S. 57, 62 (2000) (internal citations omitted). The

reviewing court must resolve all doubts in favor of arbitration. Executone, 26 F.3d at

1320-21.

      The Convention on the Recognition and Enforcement of Foreign Arbitral

Awards (“the Convention”) applies “if the [arbitration] award arises out of a

commercial dispute and at least one party is not a United States citizen.” Asignacion

v. Rickmers Genoa Schiffahrtsgesellschaft mbH & Cie KG, 783 F.3d 1010, 1015 (5th Cir.

2015). Arbitration awards governed by the Convention are enforced under the FAA.

9 U.S.C. § 201. Just as review is exceedingly narrow under the FAA, the Convention

does not permit a reviewing court to “refuse to enforce the award solely on the

ground that the arbitrator may have made a mistake of law or fact.” See Asignacion,




ORDER – PAGE 10
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 11 of 39 PageID 35186


783 F.3d at 1015.     A court must confirm the arbitration award unless the party

opposing confirmation meets its burden of establishing a reason under Article V of

the Convention for the court to deny enforcement of the arbitral award. See id. at

1015-1016.

III.   Application of the Law to the Facts

       A.    Selection and Composition of Arbitration Panel

       AVIC USA first insists the arbitration award must be vacated because the

Panel was selected in violation of the Agreement’s terms and, alternatively, the

composition of the Panel violates public policy and due process.

             1. Did the Arbitrators’ Appointment Violate the SWE Agreement?

       AVIC USA contends the Panel exceeded their powers, as defined in Section

10, because they were “not selected in accordance with the provisions of the

Agreement,” so the award must be vacated. AVIC USA argues that the clear language

of the Agreement requires the appointment of one arbitrator per side, not one

arbitrator per member; this was AVIC USA’s understanding of the selection provision

and it would never “agree[ ] to nor contemplate[ ] arbitrating a two-sided dispute in

which one side chose five arbitrators and the other side chose two.”




ORDER – PAGE 11
Case 3:15-cv-04033-K Document 363 Filed 08/09/18          Page 12 of 39 PageID 35187


                    a)       Procedural Challenge for the Panel

      Regardless of how AVIC USA tries to frame this argument, it comes down to a

“‘challenge[ ] that essentially [goes] to the procedure of arbitration.’” Adam Techs.

Int’l S.A. de C.V. v. Sutherland Glob. Servs., Inc., 729 F.3d 443, 452 (5th Cir.

2013)(quoting Gulf Guar. Life Ins. Co. v. Conn. Gen. Life Ins. Co., 304 F.3d 476, 488

(5th Cir. 2002)).      AVIC USA’s argument turns on the fairness of the selection

process. Such “procedural questions” are presumed to be for an arbitrator to decide.

Adam Techs. Int’l, 729 F.3d at 452 (citing Howsam v. Dean Witter Reynolds, Inc., 537

U.S. 79, 84 (2002)). AVIC USA has advanced no compelling argument or evidence

to establish otherwise.

      Article XIII of the SWE Agreement addresses the parties’ agreement on

Dispute Resolution. Section 13.1 provides, in relevant part, the Arbitration Provision

“shall apply to any controversy, dispute or claim arising under or related to this

[SWE] Agreement . . . including (a) any dispute regarding the construction,

interpretation, performance, validity or enforceability of any provision of this [SWE]

Agreement . . . .” The parties agreed to first attempt an informal resolution of any

dispute then, if that negotiation failed, the parties agreed to submit the dispute to

binding arbitration.      See SWE Agmt., Secs. 13.2 and 13.3 at p. 46.     The SWE

Agreement specifically sets out the arbitrator selection process and incorporates the




ORDER – PAGE 12
Case 3:15-cv-04033-K Document 363 Filed 08/09/18          Page 13 of 39 PageID 35188


rules and procedures of the American Arbitration Association. The presumption that

the arbitrators must decide any procedural question, including the arbitrator selection

process, clearly applies in this case. See Howsam, 537 U.S. at 84. The arbitrators

found that the “panel is composed in a manner provided by the unambiguous

agreement of the parties as set forth in Article XIII of the SWE Agreement.” They

also found that the parties “clearly and unmistakably empowered this panel to

determine whether this arbitration involves a controversy, dispute, or claim arising

under or related to the SWE Agreement . . . including any dispute regarding the

construction, interpretation, performance, validity or enforceability of any provision

of the SWE Agreement.” The arbitrators’ conclusion on this issue is binding and is

not for this Court to review on the basis of a procedural challenge, such as the parties

agreed otherwise.   See also Adam Techs. Int’l, 729 F.3d at 452 (“Adam’s appellate

argument that the Howsam presumption disappears because of Adam’s interpretation

that the parties agreed otherwise is unavailing.”).     AVIC USA must establish a

statutory reason for vacatur related to the composition of the panel that the Court

may consider in its very narrow review.

                    b)     The Panel Did Not Exceed Their Power

      The parties to an arbitration agreement may agree by contract to the arbitrator

selection process. Brook v. Peak Int’l., Ltd., 294 F.3d 668, 672 (5th Cir. 2002). When




ORDER – PAGE 13
Case 3:15-cv-04033-K Document 363 Filed 08/09/18             Page 14 of 39 PageID 35189


the arbitration agreement provides for the appointment method of the arbitrators, the

FAA specifically requires that the agreed method “shall be followed.” 9 U.S.C. § 5; see

id. at 672-73; see also Volt Info. Scis., Inc. v. Bd. of Trs. of Leland Stanford Junior Univ.,

489 U.S. 468, 479 (1989)(recognizing “the FAA’s primary purpose [is] ensuring that

private agreements to arbitrate are enforced according to their terms” because

“[a]rbitration under the [FAA] is a matter of consent, not coercion, and parties are

generally free to structure their arbitration agreements as they see fit.”).

       Claiming the arbitrators exceeded their powers, AVIC USA first contends the

arbitrators were not selected in accordance with the Arbitration Provision because the

Panel was “dominated by [TEG] appointees” and AVIC USA never agreed to a

selection provision which would allow such a lop-sided panel in a dispute. Next,

AVIC USA argues the Arbitration Provision requires a panel of three arbitrators in

any scenario and asks the Court to “give effect to the plain and objectively reasonable

meaning of the arbitrator selection provision for this dispute as understood by AVIC

USA: one arbitrator per side plus a third arbitrator as a tie-breaker.” Finally, AVIC

USA contends the arbitration selection provision was misinterpreted because the

Non-Signatories were not allowed to select arbitrators. As a result of these factors,

AVIC USA alleges that the Court’s refusal to vacate the award issued by this




ORDER – PAGE 14
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 15 of 39 PageID 35190


arbitration panel as it was composed will cause “an absurd and fundamentally unjust

result.”

       AVIC USA attempts to characterize its arguments as being centered on an

arbitration panel appointed in violation of the method provided for in the parties’

arbitration agreement, therefore requiring vacatur.    However, the record does not

bear this out. The Arbitration Provision does indeed clearly provide for a method of

selecting the arbitrators, but it is not the method alleged by AVIC USA. Presented

with a similar, if not identical, argument in the AVIC USA I appeal, the Fifth Circuit

so astutely noted:

               Simply put, when [AVIC USA’s] position is reduced to its
           bare essentials, AVIC [USA] is asking us to rewrite their
           agreement’s arbitration provision to require that every
           arbitration among these multiple parties comprise only two
           “sides”. It is apparent from the plain wording of that provision,
           however, that the agreement contemplates the possibility of
           there being three or more “sides” among the several parties to
           the agreement.        More to the point, AVIC’s strained
           interpretation of the arbitration provision would mandate that
           there be precisely three arbitrators in any and every instance, no
           more and no fewer—one selected by one “side,” a second
           selected by the other “side,” and the third selected by the first
           two. The unambiguous wording of the arbitration provision
           eschews such a reading: The agreement expressly contemplates
           the possibility of (1) an even number of arbitrators (an
           impossibility under AVIC’s proposed, three-only arbitrators
           interpretation) and (2) adding either one or two more arbitrators
           to achieve an odd number (also an impossibility under a three-
           only arbitrator situation).




ORDER – PAGE 15
Case 3:15-cv-04033-K Document 363 Filed 08/09/18        Page 16 of 39 PageID 35191


AVIC Int’l USA, 614 F. App’x. at 219 (emphasis in the original).         It is readily

apparent to this Court that the Fifth Circuit’s summary is true and applicable even

now as AVIC USA takes the same position.

      As SWE Members, AVIC USA and the Movants contracted in their

Arbitration Provision for a specific appointment method of the arbitrators in the

event of a dispute. The FAA specifically mandates that if an appointment process is

agreed-to, the agreed method “shall be followed.” 9 U.S.C. § 5; see Brook, 294 F.3d at

672 -73; see also Volt Info. Scis., 489 U.S. at 479 (recognizing “the FAA’s primary

purpose [is] ensuring that private agreements to arbitrate are enforced according to

their terms” because “[a]rbitration under the [FAA] is a matter of consent, not

coercion, and parties are generally free to structure their arbitration agreements as

they see fit.”).   The method by which these arbitrators were selected was in

accordance with the exact process agreed to by the parties in their Arbitration

Agreement. AVIC USA has established nothing to the contrary. The Panel did not

exceed their powers and the Court will not vacate the arbitration award on these

grounds.

             2.   Will Violations of Public Policy and Due Process Support
             Vacatur?

      AVIC USA argues in the alternative that even if the Arbitration Agreement

permitted this particular process, the resulting panel was “stacked” which violates




ORDER – PAGE 16
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 17 of 39 PageID 35192


public policy and requires vacatur of the award.        Public policy is no longer a

recognized, valid ground for vacating an arbitration award under the FAA.           See

Citigroup, 562 F.3d at 358. The United States Supreme Court held that grounds for

vacatur are limited to those specifically set forth in Section 10 of the FAA. Hall St.

Assocs., L.L.C., 522 U.S. at 586. A court may not vacate an arbitration award on

common law grounds, such as public policy, because they are not specifically

provided for in the statute.    See Citigroup, 562 F.3d at 358 (any “non-statutory

ground for setting aside an [arbitration] award must be abandoned and rejected.”);

Am. Postal Workers Union, AFL-CIO v. U.S. Postal Serv., 3:09-CV-1084-B , 2010 WL

1962676, at *2 (N.D. Tex. May 14, 2010)(Boyle, J.)(“[W]hile public policy was once

recognized as a common law ground for vacating an arbitration award, in light of Hall

Street and its progeny, it [is] no longer an adequate basis for vacatur.”). AVIC USA

cites to no case law post-Hall Street which would permit this Court to review the

arbitration award on public policy grounds. This argument is outside the narrow

scope of review the Court is permitted to conduct under the FAA. Accordingly, the

Court will not consider the merits of this argument and will not vacate the arbitration

award on this common law basis.

      In a single sentence footnote, AVIC USA contends this arbitration panel

violates public policy under Article V of the Convention and requires the award be




ORDER – PAGE 17
Case 3:15-cv-04033-K Document 363 Filed 08/09/18          Page 18 of 39 PageID 35193


vacated. The party seeking vacatur bears the burden of proving an Article V reason

precludes confirmation of the award; “[a]bsent ‘a convincing showing’ that one of

these narrow exceptions applies the arbitral award will be confirmed.”            In re

Arbitration Between Trans Chem. Ltd. and China Nat. Machinery Import & Export Corp.,

978 F. Supp. 266, 309 (S.D. Tex. 1997)(citing Imperial Ethiopian Gov’t v. Baruch-Foster

Corp., 535 F.2d 334, 336 (5th Cir. 1976)).       Although public policy may support

vacatur under Article V of The Convention, AVIC USA submits no actual argument

on this point, provides no citations in support, and fails to even reference which

specific section of Article V applies. AVIC USA failed to meet its burden to establish

vacatur is required under Article V of the Convention. See id..

      Finally, AVIC USA claims the process of composing this Panel violates due

process because it is in contravention to the objective of the selection process and the

idea of a neutral panel, resulting in “the appearance that the arbitration process can

be and was rigged.” However, this is essentially where the argument ends. Beyond

making this claim in a sentence or two, AVIC USA fails to put forth any substantive

argument on this point or provide citations to case law in support. To the extent

AVIC USA asserts due process as grounds for vacatur under the FAA, the argument

would fail for the same reasons as public policy violations. Common law grounds are

no longer valid to support vacatur under the FAA. See Citigroup, 562 F.3d at 358.




ORDER – PAGE 18
Case 3:15-cv-04033-K Document 363 Filed 08/09/18          Page 19 of 39 PageID 35194


AVIC USA does not reference Article V of The Convention in this argument, but

even if it did, the argument would fail. AVIC USA made no showing, let alone “a

convincing showing,” that a narrow exception under Article V applies.      See Trans

Chem. Ltd., 978 F. Supp. at 309.       The Court will not consider this due process

argument as a basis for vacating the arbitration award.

      In conclusion, the Court cannot vacate the arbitration award on any of the

aforementioned grounds related to the selection and composition of the Panel as

asserted by AVIC USA. See Brabham, 376 F.3d at 385 (“Given these constraints,

judicial review of an award’s rationality must be confined to situations in which the

party challenging the award can prove that clearly applicable law or the parties’

contract indisputably dictates a contrary result.”).

      B.     Expansion of Issues Identified or Submitted to Arbitration Panel

      AVIC USA argues the Panel exceeded its authority when it identified an

“ambiguity” in the SWE Agreement that none of the parties identified or submitted

to the panel.    Specifically, AVIC USA contends the Panel read Section 6.10 to

include the term “Affiliate”, as defined and used in the Agreement, when that was not

in dispute, thereby effectively rewriting the contract and allowing the panel to find

AVIC USA liable on this unjustified interpretation.




ORDER – PAGE 19
Case 3:15-cv-04033-K Document 363 Filed 08/09/18        Page 20 of 39 PageID 35195


      Among their many findings, the Panel concluded:

          62. The extent of the exclusive arrangement agreed to by the
          Members as set out in the Agreement is ambiguous. Section
          6.10 appears to apply only to Members. On the other hand,
          Section 6.11 prohibits any Member, it Representatives and
          Affiliates from engaging in the “Business” of SWE except
          through SWE. Section 6.12 prohibits Class A Members and
          their Affiliates from “participating” in wind farm land
          development projects except through entities owned jointly by
          SWE and CATIC. The Agreement’s confidentiality provision
          prohibits Members and their Affiliates from revealing
          confidential information about the company, the Members,
          Affiliates or the Agreement. The Chicago Agreement clearly
          states that “SWE will be the exclusive vehicle for both Tang and
          CATIC interest in the wind industry.” The great weight of the
          evidence supports a construction that Members, their Affiliates
          and Representatives will only conduct the “Business” through
          SWE.

          65. AVIC USA itself did not violate the contractual provision
          to refrain from engaging in the Business of SWE except through
          SWE.

          66. However, AVIC USA’s affiliates as defined by the SWE
          Agreement, competed against SWE and engaged in the
          “Business” of SWE thereby violating the SWE Agreement’s
          exclusive arrangement.        Specifically, AVIC HQ, AVIC
          International, AVIC IRE and Ascendant, are “Affiliates” of
          AVIC USA because they directly or indirectly controlled AVIC
          USA and all are under the common control of AVIC HQ. As a
          result, AVIC USA breached the SWE Agreement by its Affiliates
          engaging in the “Business” of SWE.

Final Award at pp. 12-13.




ORDER – PAGE 20
Case 3:15-cv-04033-K Document 363 Filed 08/09/18          Page 21 of 39 PageID 35196


      The Panel found an ambiguity in reading Sections 6.10, 6.11, and 6.12, along

with other provisions, in an attempt to define the exclusivity of the parties’

Agreement on conducting wind energy-related “Business”.               In reading the

Agreement’s provisions together, the Panel found that “[t]he SWE Agreement

requires Members and their Representatives and Affiliates to conduct the ‘Business’

of SWE solely through SWE or its Controlled Companies.” There is no citation to

any specific section of the Agreement as the basis for this finding and AVIC USA

never identifies any liability finding by the Panel based specifically on a breach of

Section 6.10. In fact, the Panel’s determinations make it clear that other provisions

also prohibited Members and Affiliates from competing with SWE Business, and

these could arguably have provided the basis for the liability determination. The

Court’s review of the award reveals that the Panel simply did not make the liability

determination as to AVIC USA as it has alleged. This argument does not support

vacatur.

      AVIC USA’s argument essentially amounts to assertions that the Panel’s

interpretation was flawed. This Court may not second-guess the panel’s conclusions

on any issues involving contract interpretation in this very narrow review. See Am.

Laser Vision, P.A. v. Laser Vision Inst., L.L.C., 487 F.3d 255, 260 (5th Cir. 2007),

overruled on other grounds by Hall St. Assocs., 552 U.S. at 584-86 (“We will not second-




ORDER – PAGE 21
Case 3:15-cv-04033-K Document 363 Filed 08/09/18          Page 22 of 39 PageID 35197


guess multiple, implicit findings and conclusions underpinning the award. We do not

decide if the award was free from error.”); Executone, 26 F.3d at 1325 (the reviewing

court considers only the arbitrators’ resulting decision and “does not review the

language used by, or the reasoning of, the arbitrators in determining whether their

award draws its essence from the contract.”); see also E. Associated Coal, 531 U.S. at 62

(“‘[A]s long as [an honest] arbitrator is even arguably construing or applying the

contract and acting within the scope of his authority,’ the fact that ‘a court is

convinced he committed serious error does not suffice to overturn his decision.’”);

McKool Smith, P.C. v. Curtis Int’l, Ltd., 650 F. App’x. 208, 211 (5th Cir.

2016)(“Under this [extraordinarily narrow] review, an award may not be set aside for

a mere mistake of fact or law.”). This arbitration award clearly draws its essence from

the SWE Agreement, defining the “Business” arrangement’s degree of exclusivity in

order to determine whether a breach occurred and by whom, both of which were

central issues to the arbitration. See Timegate Studios, 713 F.3d at 802-803 (“[A]n

arbitrator has not exceeded his powers unless he has utterly contorted the evident

purpose and intent of the parties—the ‘essence’ of the contract,” and the Court must

confirm it even if in disagreement with the panel’s interpretation.).

      The Court cannot vacate the arbitration award on these grounds.




ORDER – PAGE 22
Case 3:15-cv-04033-K Document 363 Filed 08/09/18        Page 23 of 39 PageID 35198


      C.     Misconduct by the Arbitration Panel

      AVIC USA contends the Panel engaged in misconduct in multiple instances,

requiring the Court to vacate the arbitration award.

             1.     Did the Panel Ignore This Court’s Previous Order?

      Citing to this Court’s order in the Ascendant case, AVIC USA argues that the

Court “determined that the panel had no authority to adjudicate whether Ascendant

(or any other non-signatory, by extension) is bound by the Agreement.”

Nevertheless, AVIC USA argues the Panel “impermissibly ignored this Court’s prior

ruling” in determining the Non-Signatories are the alter egos of AVIC USA and

therefore, “are bound by the Agreement.” AVIC USA contends this disobedience of a

court order constitutes misconduct which prejudiced AVIC USA, and the award must

be vacated. See 9 U.S.C. § 10(a)(3) (grounds for vacatur of award include “any other

misbehavior by which the rights of any party have been prejudiced”).

      In the Ascendant case, the Court “declar[ed] that Ascendant’s party status to

the arbitration can only be determined by a court, not an arbitrator” because non-

signatory Ascendant attacked the very existence of any agreement to arbitrate with

Tang or any other respondent.     Ascendant Renewable Energy Corp., Civ. Action No.

3:14-CV-3314-K, 2015 WL 4713240, at *3. The Court then declared that if an

arbitration panel did make a determination as to jurisdiction over or party status of




ORDER – PAGE 23
Case 3:15-cv-04033-K Document 363 Filed 08/09/18        Page 24 of 39 PageID 35199


Ascendant, that decision would be owed no deference and would not be “controlling

on a court” reviewing an arbitration award. Id. (Ascendant is not a party to the

instant case.)

       Nowhere in that order did the Court prohibit or forbid the Panel from making

any determination regarding jurisdiction over or party status of Ascendant in relation

to the Agreement on any theory, including alter ego. Furthermore, the Court also did

not declare or otherwise order that this Court must decide Ascendant’s party status

before any arbitration may proceed. The Court simply declared Ascendant’s right for

a court to “resolve whether an agreement to arbitrate exists that would require

Ascendant to participate in the underlying arbitration,” and confirmed that if the

Panel did make such a determination, the reviewing court would owe the Panel’s

finding no deference and would not be bound by it. The Court did not opine or

make any ruling as to whether an agreement to arbitrate did indeed exist or whether

some alternative theory could bind Ascendant to arbitrate; neither issue was before

the Court in that declaratory judgment action.

       AVIC USA contends the Panel disobeyed the order “[b]y taking the non-

signatory alter ego question away from this Court,” and this constitutes misconduct.

This argument is meritless as the Panel did not “take away” this issue from the Court.

Citing clear Fifth Circuit precedent, the Court declared in the Ascendant case that a




ORDER – PAGE 24
Case 3:15-cv-04033-K Document 363 Filed 08/09/18        Page 25 of 39 PageID 35200


reviewing court owes no deference to and is not bound by any such finding by

arbitrators. No where did the Court order that the Panel could not hear the issue of

or make a determination regarding the jurisdiction over and/or party status of

Ascendant; rather, the Court declared simply that an arbitrator’s findings would not

be binding on a reviewing court in an instance where the existence of an agreement to

arbitrate was in dispute. The Panel did not ignore this Court’s order in the Ascendant

case.

        The Court concludes AVIC USA did not establish the Panel committed any

misconduct under this theory, therefore the Court cannot vacate the arbitration

award on this basis.

             2.        Did the Panel Make Adverse Inferences Against AVIC USA?

        AVIC USA also argues the arbitration panel committed misconduct when it

made “adverse inferences against AVIC USA based solely on the non-signatories’

absence from the arbitration.” Again citing the order in the Ascendant case, AVIC

USA claims the Court “rul[ed] that the non-signatories had no obligation to

participate in the [arbitration] proceedings” yet, the Panel determined the Non-

Signatories’ participation was required and, when they did not participate, punished

AVIC USA.




ORDER – PAGE 25
Case 3:15-cv-04033-K Document 363 Filed 08/09/18        Page 26 of 39 PageID 35201


      As previously discussed, the Court did not rule or otherwise determine in the

Ascendant case that the Non-Signatories were not required to participate in the

arbitration as AVIC USA alleges. Ascendant, which is not a party to the instant

action, was the only Non-Signatory to appear in that declaratory judgment action.

The Court declared Ascendant’s rights under the controlling law, specifically that it

was for a court, not an arbitrator, to decide Ascendant’s party status because it

attacked the existence of any agreement to arbitrate with Tang or any other party,

and, if the arbitrator did make such a determination, it would not be controlling on a

court reviewing the arbitration award. There was never a ruling from this Court that

Ascendant, the only non-signatory to appear before it, had no obligation to

participate in the arbitration proceedings, as AVIC USA claims. That issue was not

before the Court. AVIC USA has misconstrued or misinterpreted the Court’s ruling

in the Ascendant case, and this argument fails to the extent the “adverse inference”

argument relies on this misinterpretation.

      AVIC USA contends that it was “punished” by the Panel when they found

AVIC USA liable based on adverse inferences the Panel made as a result of the Non-

Signatories’ refusal to participate. AVIC USA alleges the damages award is at least

some indication    of how “the panel’s ‘adverse’ view of the evidence affected its

findings.” The only specific adverse inference AVIC USA references is the following




ORDER – PAGE 26
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 27 of 39 PageID 35202


sentence: “As a result, the panel has opted to infer that Xu Hang’s statement in CX

330 that AVIC International has invested $50 USD million in wind power projects in

the United States is accurate without any additional evidence.” AVIC USA argues

there was no actual evidence to support any damages award and, in fact, there was

uncontested evidence rebutting Xu Hang’s statement.

      At the heart of this argument, AVIC USA is ultimately complaining about: (1)

the arbitration panel’s decision to make an adverse inference pursuant to their

authority under the AAA rules and language in the SWE Agreement, as interpreted

by the Panel; and (2) the weight the Panel chose to give the evidence. The Court

cannot vacate the arbitration award based on errors in interpretation or application of

the law, or mistakes in factfinding. See United Paperworkers, 484 U.S. at 38; McKool

Smith, 650 F. App’x. at 211. Moreover, arbitrators have broad discretion in making

evidentiary rulings, and a court generally does not review those rulings. Int’l Chem.

Workers Union v. Columbian Chems. Co., 331 F.3d 491, 497 (5th Cir. 2003)(citing

Amalgamated Meat Cutters & Butcher Workmen of N. Am. v. Neuhoff Bros., 481 F.2d 817,

820 (5th Cir. 1973)(“[T]he arbitrator has great flexibility and the courts should not

review the legal adequacy of his evidentiary rulings.”)). AVIC USA did not meet its

burden to establish the panel committed misconduct in this instance to support

vacatur of the award.




ORDER – PAGE 27
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 28 of 39 PageID 35203


             3.    Did the Panel Improperly            Determine     Non-Signatories
             Participated in Arbitration?

      AVIC USA claims the Panel committed misconduct in making adverse

inferences based on the Non-Signatories’ “willful disobedience” in their selective

participation in the arbitration discovery.   This argument relates to AVIC USA’s

previous argument regarding the Panel’s adverse inferences. Here, AVIC USA argues

the Panel’s basis for the adverse inferences, the Non-Signatories’ “willful

disobedience”, constitutes misconduct.

      It is well-established that “‘as long as [an honest] arbitrator is even arguably

construing or applying the contract and acting within the scope of his authority,’” the

reviewing court must affirm the award. E. Associated Coal, 531 U.S. at 62 (internal

citations omitted). In Paragraph 128 of the award, the Panel noted the authority

upon which they relied in drawing the adverse inferences, including language from

the Agreement. The Court cannot conclude that the Panel exceeded their powers by

“utterly contort[ing] the evident purpose and intent of the parties—the ‘essence’ of

the contract.” See Timegate Studios, 713 F.3d at 802-03. AVIC USA failed to meet its

burden to prove the panel committed misconduct to justify vacatur of the award.




ORDER – PAGE 28
Case 3:15-cv-04033-K Document 363 Filed 08/09/18          Page 29 of 39 PageID 35204


      D.     Panel Exceeding Its Powers

      AVIC USA argues the arbitration panel exceeded its powers in awarding

damages and attorneys’ fees which are expressly prohibited by the Agreement, and in

exercising jurisdiction over the derivative SWE claims.

      The arbitrators’ powers and authority are “dependent on the provisions under

which the arbitrators were appointed.” Brook, 294 F.3d at 672 (internal quotations

omitted). In deciding whether an arbitrator has exceeded his powers, the court looks

to “whether the arbitrator’s award ‘was so unfounded in reason and fact, so

unconnected with the wording and purpose of the [contract] as to “manifest an

infidelity to the obligation of an arbitrator.”’”   Timegate Studios, 713 F.3d at 802

(quoting Bhd. of R.R. Trainmen, 415 F.2d at 412). “[A]n arbitrator has not exceeded

his powers unless he has utterly contorted the evident purpose and intent of the

parties—the ‘essence’ of the contract.” Id. at 802-03. It is well-established that “‘as

long as [an honest] arbitrator is even arguably construing or applying the contract

and acting within the scope of his authority,’ the fact that ‘a court is convinced he

committed serious error does not suffice to overturn his decision.’” E. Associated Coal,

531 U.S. at 62 (internal citations omitted).




ORDER – PAGE 29
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 30 of 39 PageID 35205


             1.   Did the Panel Award Damages Expressly Prohibited by the
             Agreement?

      AVIC USA contends the Panel’s award of $62.9 million in lost profits violates

specific language of the Agreement which prohibits consequential, speculative, and

remote damages; therefore, the panel exceeded their powers.

      In support of its argument, AVIC USA cites to Section 17.10 of the Agreement

which provides:

             17.10 No Consequential or Punitive Damages. IN NO
          EVENT SHALL ANY MEMBER OR ANY OF ITS
          RESPECTIVE REPRESENTATIVES OR AFFILIATES BE
          LIABLE TO THE COMPANY OR TO ANY OTHER MEMBER
          OR ITS REPRESENTATIVES OR AFFILIATES FOR ANY
          EXEMPLARY,     PUNITIVE,      SPECIAL,      INDIRECT,
          CONSEQUENTIAL,      REMOTE        OR    SPECULATIVE
          DAMAGES.

SWE Agreement at p. 55, ¶ 17.10. AVIC USA first argues that this damages award

constitutes consequential damages as Delaware law clearly provides that “lost profits”

are consequential damages. (SWE is a Delaware limited liability company.) What

AVIC USA fails to clarify is that well-established Delaware law provides that “lost

profits” on “collateral business arrangements” are considered consequential damages.

See eCommerce Indus., Inc. v. MWA Intelligence, Inc., C.A. No. 7471-VCP, 2013 WL

5621678, at * 47 (Del. Ch. Sept. 30, 2013)(quoting Tractebel Energy Mktg., Inc. v. AEP

Power Mktg., Inc., 487 F.3d 89, 109 (2d Cir. 2007)). “By contrast, lost profits are not




ORDER – PAGE 30
Case 3:15-cv-04033-K Document 363 Filed 08/09/18        Page 31 of 39 PageID 35206


considered consequential damages when ‘profits are precisely what the non-breaching

party bargained for, and only an award of damages equal to lost profits will put the

non-breaching party in the same position he would have occupied had the contract

been performed.’” eCommerce Indus., C.A. No. 7471-VCP, 2013 WL 5621678, at *47

(principle applies in context of non-compete provision which was central to the non-

breaching party’s bargained-for agreement).

      In making this award, the Panel clearly stated that these “lost profit” damages

were the direct result of the breach of the parties’ Agreement not to compete directly

on wind power project(s).    This breach was not related to a “collateral business

arrangement”, but was, at the least, a very important part of what the parties

bargained for in this Agreement. See id. (“With respect to a non-compete provision or

agreement, I conclude that the profits of the product line or business that is being

protected from competition constitute the benefit for which the protected party

bargained. Furthermore, lost profits on the part of the non-breaching party are the

direct and natural consequence of breaching a non-compete provision.”). The Court

disagrees that Delaware law automatically categorizes these damages as consequential

and finds AVIC USA did not establish the Panel exceeded their authority.

      AVIC USA next argues the “lost profits” award is “wholly speculative” because

it is based solely on adverse inferences whereas the “actual unrebutted evidence”




ORDER – PAGE 31
Case 3:15-cv-04033-K Document 363 Filed 08/09/18        Page 32 of 39 PageID 35207


establishes there was no such investment. As the Court discussed supra, AVIC USA

did not meet its burden related to its adverse inferences arguments. AVIC USA’s

argument that the award was purely speculative because it is based on these adverse

inferences must fail. The Panel indicated in the arbitration award the “lost profits”

damages arose from breach of the Agreement, and included how they arrived at it in

light of the Agreement and the evidence they considered. The Court cannot agree

with AVIC USA that this award was “wholly speculative” or a “complete guess”.

      The Court concludes that the award draws its essence from the Agreement. See

Timegate Studios, 713 F.3d at 802 (irrelevant whether reviewing court disagrees with

the arbitrator’s interpretation of the contract); Executone, 26 F.3d at 1325.

Accordingly, AVIC USA failed to meet its burden to establish the Panel had no

authority under the Agreement to award these damages, thereby exceeding their

powers and requiring vacatur.

             2.    Did the Panel Award Punitive or Special Damages by
             Divesting AVIC USA’s Interest in SWE?

      Next, AVIC USA argues the Panel exceeded its powers in divesting AVIC USA

of its interest in SWE because this amounts to punitive or exemplary damages which

are expressly prohibited under the Agreement. AVIC USA also argues the divestiture

of its interest in SWE was “patently unreasonable” because the Panel expressly found

that AVIC USA itself did not breach the Agreement.




ORDER – PAGE 32
Case 3:15-cv-04033-K Document 363 Filed 08/09/18          Page 33 of 39 PageID 35208


      As with the previous argument, the Court cannot agree that divesting AVIC

USA of its interest in SWE was punitive or special damages. The Panel did not

characterize the divestiture as “punitive” or “special” damages in the award, and

AVIC USA provides no persuasive argument or case law establishing such a

divestiture is considered punitive or special damages.

      In Executone, the Fifth Circuit reaffirmed it prior holding that the arbitrators’

choice of remedy is afforded more deference than their interpretation of the contract.

Executone, 26 F.3d at 1325; see also Timegate, 713 F.3d at 803. “‘The single question is

whether the award, however arrived at, is rationally inferable from the contract.’”

Executone, 26 F.3d at 1325 (quoting Anderman/Smith Operating Co. v. Tenn. Gas Pipeline

Co., 918 F.2d 1215, 1219 n. 3 (5th Cir. 1990)). A remedy is outside the arbitrators’

jurisdiction only where “there is no rational way to explain the remedy handed down

by the arbitrator as a logical means of furthering the aims of the contract.” Executone,

26 F.3d at 1325 (internal quotations omitted). The Panel determined the lost profits

award of $62.9 million was due to SWE for distribution to its Members. The Panel

also noted that the divestiture was necessary to prevent AVIC USA, a member of

SWE, from profiting from the breach of the SWE Agreement. The Court finds the

divestiture is rationally inferable from the SWE Agreement, therefore it meets the

“essence” test. See Executone, 26 F.3d at 1325. Accordingly, AVIC USA failed to meet




ORDER – PAGE 33
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 34 of 39 PageID 35209


its burden to establish the panel had no authority under the Agreement to award

these damages, thereby exceeding their powers and requiring vacatur.

             3.    Did the Panel Improperly Award Attorneys’ Fees to SWE?

      AVIC USA contends the Panel exceeded its authority in awarding TEG past

and future attorneys’ fees along with costs against AVIC USA. On this point, AVIC

USA makes three specific arguments.          First, although the Agreement allows

“prevailing Members” to recover court costs, fees, and expenses, including attorneys’

fees, AVIC USA argues the Agreement specifically requires the arbitrators to

“determine that compelling reasons exist for allocating all or a portion of such costs

and expenses to one or more than Disputing Members.” Because the Panel did not

make this determination or identify compelling reasons for this allocation, AVIC USA

contends the award must be vacated.

      In allocating attorneys’ fees and arbitration expenses, the Panel cites to Section

13.4 of the Agreement which provides that the “prevailing Members . . . shall be

entitled to recover from the other Member or Members . . . all court costs, fees and

expenses of such arbitration, including reasonable attorneys’ fees.” AVIC USA does

not dispute that the Agreement allows for the recovery of attorneys’ fees and

expenses. Instead, AVIC USA takes aim at the Panel’s failure to reference Section

13.3(k) which, according to AVIC USA, requires the panel to identify a “compelling”




ORDER – PAGE 34
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 35 of 39 PageID 35210


reason in order to award attorneys’ fees and costs against another Disputing Member.

This argument attacks the Panel’s interpretation of the Agreement and their

authority under the specific section addressing allocation of these costs. The Court

may not vacate the award on these grounds. Timegate Studios, 713 F.3d at 802.

      Second, AVIC USA argues the allocated fees and expenses must be from a

“Disputing Member” to another “Disputing Member”. AVIC USA asserts that SWE

was award the damages, but SWE is not a “Disputing Member”, and the fees and

costs were awarded to TEG, a “Disputing Member”; yet, the Panel made no finding

as to whether the costs and fees being allocated were TEG’s or SWE’s.             This

argument centers on an interpretation of the Agreement which is within the panel’s

jurisdiction. This Court will not, and cannot, second-guess the panel’s reasons for

allocating the attorneys’ fees and expenses as it did. Even if the Court disagreed with

the panel’s interpretation of the Agreement, the Court cannot vacate an award on

this basis. Timegate Studios, 713 F.3d at 802.

      As a final argument on fees and expenses, AVIC USA contends no “Disputing

Member” prevailed over AVIC USA. This argument hinges in part on AVIC USA’s

earlier argument in Section III.B regarding liability based on a rewriting of Section

6.10. The Court has already concluded that argument fails; therefore to the extent

this argument relies on vacatur under that Section 6.10 argument, it too fails. AVIC




ORDER – PAGE 35
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 36 of 39 PageID 35211


USA argues alternatively that regardless of that prior argument, TEG is still not a

prevailing party because all but one of its claims were dismissed and TEG recovered

less than 1% of the damages it sought.        As with the previous arguments, this

argument attacks the Panel’s interpretation of “prevailing party” as defined and used

in the Agreement. AVIC USA simply disagrees with the Panel’s conclusion. This

argument does not provide a basis for vacating the arbitration award. See id.

             4.    Did the Panel Fail to Account for Any Return on the
             Investment?

      AVIC USA argues any damages award should have included a deduction for

AVIC USA’s return on investment (“ROI”) for wind development projects pursuant

to the terms of the Agreement. AVIC USA contends it was entitled to some amount

of ROI deduction for the capital contribution it would have made and because there

is no way to determine the specific amount (as it was undefined in the Agreement),

the entire award is speculative and in violation of the Agreement’s provisions.

      As stated previously many times, this Court is very limited it is review of the

arbitration award. The Court may review only “whether the award, however arrived

at, is rationally inferable from the contract.” Executone, 26 F.3d at 1325 (internal

quotations omitted). “[P]erhaps most importantly, even if the arbitrators incorrectly

calculated the damage award, an arbitrator’s erroneous interpretation of law or facts

is not a basis for vactur of an award.” Pfeifle v. Chemoil Corp., 73 F. App’x 720, 722-




ORDER – PAGE 36
Case 3:15-cv-04033-K Document 363 Filed 08/09/18         Page 37 of 39 PageID 35212


722 (5th Cir. 2003). The law is clear on this and AVIC USA’s argument fails. Any

error in failing to account for an ROI does not provide a basis for the Court to vacate

this award.

              5.   Did the Panel Improperly             Assert    Jurisdiction   Over
              Derivative SWE Claims?

      In its final argument for vacatur, AVIC USA asserts the Panel exceeded its

powers in allowing TEG to intervene on SWE’s behalf and because SWE was not a

proper party to the arbitration, the $62.9 million awarded to SWE must be vacated.

Specifically, AVIC USA argues that the Agreement requires a Supermajority (>66%)

of Class A membership interests to approve any decision outside the ordinary course

of SWE’s business.    Because AVIC USA owned 50% of the Class A membership

interests, it was necessarily required to agree to SWE’s participation in the

arbitration, but TEG never sought or secured AVIC USA’s consent.            Therefore,

SWE’s motion to intervene should have been denied and the award should be

vacated.

      AVIC USA’s argument is essentially this—because AVIC USA did not

authorize this legal action against itself, the Panel exceeded it powers in permitting

SWE to intervene, and therefore this award must be vacated. While this argument is

absurd, it ultimately fails just as numerous of its other arguments. AVIC USA

objected on these same grounds during arbitration when SWE petitioned to




ORDER – PAGE 37
Case 3:15-cv-04033-K Document 363 Filed 08/09/18        Page 38 of 39 PageID 35213


intervene; the Panel, however, decided SWE was a proper party to the arbitration

because “[t]he management committee of SWE took action in accordance with article

VI of the SWE Agreement authorizing SWE’s claims.” The Panel clearly interpreted

the Agreement in ruling that SWE was a proper claimant with standing and was

permitted to intervene. The Court must affirm the award “as long as the arbitrator’s

decision ‘draws its essence’ from the contract”, resolving all doubts in favor of

arbitration. Timegate, 713 F.3d at 802. AVIC USA failed to meet its burden to prove

that the Panel exceeded their powers in “utterly contort[ing] the evident purpose and

intent of the parties—the ‘essence’ of the contract.” See id. at 802-803. The Court

concludes the Panel’s decision draws its essence from the Agreement, and therefore,

the award may not be vacated on these grounds. See Anderman/Smith, 918 F.2d at

1219 n.3.

IV.   Conclusion

      For the reasons previously stated, the Court GRANTS the Movants’ motion to

confirm the arbitration award, and DENIES AVIC USA’s motion to vacate the




ORDER – PAGE 38
Case 3:15-cv-04033-K Document 363 Filed 08/09/18   Page 39 of 39 PageID 35214


arbitration award.   The arbitration award dated December 21, 2015 is hereby

confirmed as to Respondent AVIC International USA, Inc. The Court will issue a

separate final judgment.

      SO ORDERED.

      Signed August 9th, 2018.

                                    ______________________________________
                                    ED KINKEADE
                                    UNITED STATES DISTRICT JUDGE




ORDER – PAGE 39
